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                 UNITED STATES DISTRICT COURT
                     DISTRICT OF MINNESOTA
___________________________________________________________________

WILL SMITH AND CAROL SMITH,

                         Plaintiffs,        CIVIL NO.: ______________________

v.
                                                           COMPLAINT
WYSE FINANCIAL SERVICES,
                                     JURY TRIAL DEMANDED
                   Defendant.
___________________________________________________________________

                                       JURISDICTION

1.   Jurisdiction of this Court arises under 28 U.S.C. § 1331 and pursuant to 15

     U.S.C. § 1692k(d).

2.   This action arises out of Defendant’s violations of the Fair Debt Collection

     Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”).

3.   Venue is proper in this district because the acts and transactions occurred in

     this district, Plaintiffs reside in this district, and Defendant transacts business

     in this district.

                                         PARTIES

4.   Plaintiff Will Smith (hereinafter “Plaintiff Will”), is a natural person residing

     in the County of Ramsey, State of Minnesota, and is a “consumer” as that

     term is defined by 15 U.S.C. § 1692a(3).
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5.    Plaintiff Carol Smith (hereinafter “Plaintiff Carol”), is a natural person

      residing in the County of Ramsey, State of Minnesota, and is a “consumer”

      as that term is defined by 15 U.S.C. § 1692a(3).

6.    Defendant Wyse Financial Services, Inc. (hereinafter “Defendant”), is a law

      firm operating from an address of 3410 South Galena Street, Suite 250,

      Denver, Colorado 80231 and is a “debt collector” as that term is defined by

      15 U.S.C. § 1692a(6).

                              FACTUAL SUMMARY

7.    Sometime prior to January 2010, upon information and belief, Plaintiffs

      incurred a financial obligation that upon information and belief was primarily

      for personal, family or household purposes, and is therefore a “debt” as that

      term is defined by 15 U.S.C. § 1692a(5).

8.    Sometime thereafter, the alleged debt was consigned, placed or otherwise

      transferred to Defendant for collection.

9.    Defendant repeatedly contacted Plaintiffs in an attempt to collect the alleged

      debt.

10.   On January 5, 2010, Plaintiffs sent a Cease and Desist letter to Defendant.

      Exhibit (A)

11.   Despite knowing that Plaintiffs requested not to be contacted by Defendant,

      on January 18, 2010 and January 26, 2010, Defendant again contacted

      Plaintiffs.



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12.   Upon information and belief, Defendant continued to attempt to contact

      Plaintiffs by attempting to contact Plaintiffs by telephone.

13.   The conduct of Defendant in contacting Plaintiffs on numerous occasions

      after written communication that a consumer wanted Defendant to cease

      communication and causing the telephone to ring repeatedly are a violation

      of numerous and multiple provisions of the FDCPA, including but not

      limited to 15 U.S.C. §§ 1692c(c), 1692d, 1692d(5), 1692e and 1692f amongst

      others.

                         Respondeat Superior Liability

14.   The acts and omissions of Defendant, and/or the other debt collectors

      employed as agents by Defendant who communicated with Plaintiffs as more

      further described herein, were committed within the time and space limits of

      their agency relationship with their principal, Defendant.

15.   The acts and omissions by Defendant and/or these other debt collectors were

      incidental to, or of the same general nature as, the responsibilities these

      agents were authorized to perform by Defendant in collecting consumer

      debts.

16.   By committing these acts and omissions against Plaintiffs, Defendant and

      these other debt collectors were motivated to benefit their principal,

      Defendant.

17.   Defendant is therefore liable to Plaintiffs through the Doctrine of Respondeat

      Superior for the intentional and negligent acts, errors, and omissions done in

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      violation of state and federal law by its collection employees, including but

      not limited to violations of the FDCPA, in its attempts to collect this debt

      from Plaintiffs.

                                     Summary

18.   The above-detailed conduct by Defendant, of contacting Plaintiffs on

      numerous occasions after written communication that a consumer wanted

      Defendant to cease communication and causing the telephone to ring

      repeatedly were a violation of numerous and multiple provisions of the

      FDCPA, including but not limited to all of the above mentioned provisions of

      the FDCPA.

19.   Plaintiffs have suffered actual damages as a result of these illegal collection

      communications by the Defendant in the form of anger, anxiety, emotional

      distress, frustration, embarrassment amongst other negative emotions.

20.   Defendant’s negligent and/or intentional acts resulted in the violation of

      numerous provisions of state and federal law and resulted in actual damages

      to the Plaintiffs.

                                TRIAL BY JURY

21.   Plaintiffs are entitled to and hereby respectfully demands a trial by jury. U.S.

      Const. amend. 7. Fed.R.Civ.P. 38.




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                              CAUSES OF ACTION

                                      COUNT I.

  VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

                              15 U.S.C. § 1692 et seq.

22.   Plaintiffs incorporate by reference all of the above paragraphs of this

      Complaint as though fully stated herein.

23.   The foregoing acts and omissions of Defendant and its agents constitute

      numerous and multiple violations of the FDCPA including, but not limited to,

      each and every one of the above-cited provisions of the FDCPA, 15 U.S.C. §

      1692 et seq., with respect to Plaintiffs.

24.   As a result of Defendant’s violations of the FDCPA, Plaintiffs are entitled to

      actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages in an

      amount up to $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and,

      reasonable attorney’s fees and costs pursuant to 15 U.S.C. § 1692k(a)(3),

      from Defendant herein.

                              PRAYER FOR RELIEF

WHEREFORE, Plaintiffs pray that judgment be entered against Defendant:

                                      COUNT I.

  VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

                              15 U.S.C. § 1692 et seq.

25.   for an award of actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against

      Defendant and for Plaintiffs;

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26.    for an award of statutory damages of $1,000.00 pursuant to 15 U.S.C.

       §1692k(a)(2)(A) against Defendant and for Plaintiffs; and

27.    for an award of costs of litigation and reasonable attorney’s fees pursuant to 15

       U.S.C. § 1692k(a)(3) against Defendant and for Plaintiffs.


                                     MARTINEAU, GONKO & VAVRECK, PLLC


Dated: July 28, 2010                  s/ Mark L. Vavreck                             .
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